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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

John Doe,
                    Plaintiff,
                                              ORDER GRANTING PLAINTIFF’S
       v.                                     MOTION TO PROCEED USING A
                                              PSEUDONYM
St. Olaf College,
                    Defendant.
                                              Case No.: 18-cv-02689

____________________________________________________________________


       Based upon the files, arguments of counsel, records, and proceedings, IT IS

HEREBY ORDERED that:


       The Plaintiff’s motion to Proceed Using a Pseudonym is hereby GRANTED.




Dated: October 9, 2018                                 s/ Steven E. Rau
                                                       Steven E. Rau
                                                       U.S. Magistrate Judge
